                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


DONALD J. TRUMP, Candidate for President
of the United States of America,

                 Plaintiff,                            Case No. 2:20-cv-01785-BHL
       vs.

THE WISCONSIN ELECTIONS
COMMISSION, et al.,

                 Defendants.



                              DECLARATION OF DOROTHY HARRELL


       I, Dorothy Harrell, hereby declare as follows:

       1.        I have personal knowledge of the matters stated herein and would testify to the

same if called as a witness in Court.

       2.        I am over eighteen years of age and am otherwise competent to testify in Court.

       3.        I currently live in the City of Beloit, which is in Rock County.

       4.        I am a registered voter at my current address in Beloit and have been registered here

for almost ten years.

       5.        I am 71 years old; my racial background is African-American.

       6.        I am the President of the Wisconsin NAACP Beloit Branch.

       7.        For the November 3, 2020 general election, I voted in-person early voting at Beloit

City Hall at 100 State Street, Beloit, Wisconsin 53511. I voted early during the last week of

October, 2020.




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        8.       I understand this lawsuit seeks to invalidate my vote and those of thousands of

Wisconsin absentee and in-person voters despite the fact those votes were legally cast.

        9.       This lawsuit and any others like it need to be thrown out so that people of color can

regain their trust that they have legal rights in this society, which includes the right to vote. I also

think these suppression efforts are a waste of valuable resources in cities and states across this

country.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury, under the laws of the

United States, that the foregoing is true and correct to the best of my knowledge.

        Dated this 3rd day of December, 2020.

                                                                /s/ Dorothy Harrell
                                                                Dorothy Harrell




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